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                                                                              United States Bankruptcy Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                   IN THE UNITED STATES BANKRUPTCY COURT                            March 23, 2022
                     FOR THE SOUTHERN DISTRICT OF TEXAS                           Nathan Ochsner, Clerk
                              HOUSTON DIVISION

IN RE:                                       §
                                             §
PREFERRED READY-MIX, LLC                     §           CASE NO. 21-33369
                                             §
         Debtor.                             §           CHAPTER 11

ORDER GRANTING UNOPPOSED MOTION TO INVOKE ADVERSARY RULES AND
CONSOLIDATE OBJECTION TO APPLICATION FOR ALLOWANCE OF CHAPTER
  11 ADMINISTRATIVE EXPENSE CLAIM WITH ADVERSARY PROCEEDING
                         NUMBER 22-03040
                       [DOCKET NO. 98 & 122]

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         CAME ON TO BE CONSIDERED Receiver’s Unopposed Motion to Invoke Adversary

Rules and Consolidate Objection to Application for Allowance of Chapter 11 Administrative

Expense Claim (the “Motion”). The Court finds that such motion should be GRANTED.

         IT IS THEREFORE ORDERED that: (1) the full adversary rules and procedures be

invoked as to Debtor’s Objection to Claim of Receiver (Docket Nos. 98 & 122) and (2) Debtor’s

Objection to Claim of Receiver filed in the main case be substantively consolidated with the

Complaint filed in adversary no. 22-03040.




                                                     ___________________________________
                   March
                    April23,
                          04, 2022
                              2018
                                                     HON. JEFFREY P. NORMAN
                                                     U. S. BANKRUPTCY JUDGE



Order Submitted By:

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